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                EXHIBIT
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                              )
 MAKE THE ROAD STATES, INC.,                  )
 NAACP BUCKS COUNTY BRANCH                    )
 2253, BUXMONT UNITARIAN                      )
 UNIVERSALIST FELLOWSHIP,                     )
 and JUAN NAVIA,                              )
                                              )   No. 2:25-cv-02938
           Plaintiffs,                        )
                                              )
           v.                                 )
                                              )
 FREDERICK A. HARRAN,                         )
 individually and in his official             )
 capacity as Sheriff of Bucks County,         )
 and BUCKS COUNTY,                            )
                                              )
           Defendants.                        )


                  DECLARATION OF STEPHEN A. LONEY, JR.
          IN SUPPORT OF PETITION FOR AWARD OF ATTORNEYS’ FEES

       I, Stephen A. Loney, Jr., am one of the attorneys of record for the plaintiffs in the above-

captioned case. I make the following declaration upon my personal knowledge:

1.     This declaration is submitted in support of Plaintiffs’ Petition for Attorneys’ Fees.

2.     I am the Senior Supervising Attorney at the ACLU of Pennsylvania, where I have worked

       as an attorney since January 2022.

3.     I graduated from New York University School of Law in 2004, and earned my

       undergraduate degree from St. Joseph’s University in 2001.

4.     After graduating from law school, I served for one year as a law clerk to the Honorable

       Franklin Van Antwerpen of the U.S. Court of Appeals for the Third Circuit, then

       practiced commercial litigation at several large law firms in Philadelphia until joining the
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      ACLU of Pennsylvania in 2022. Immediately before leaving my last firm, my standard

      billable rates were in excess of $900-$1,000 per hour.

5.    I certify that the attached time sheets, which are incorporated by reference, were prepared

      contemporaneously and maintained in the ordinary course of business.

6.    The hours we have billed in this case are fair and reasonable and were necessarily

      incurred in the successful prosecution of this case.

7.    Only the time spent on this case that could reasonably be billed to a private client has

      been included.

8.    Based on my experience and standing in the bar, I believe that the requested rate of $630

      per hour is fair and reflects the prevailing community rate for civil rights lawyers of

      comparable skill and experience.

9.    I am currently admitted to practice in Pennsylvania and all federal courts within the Third

      Circuit.

10.   I am a salaried employee of the ACLU of Pennsylvania, a nonprofit, nonpartisan

      organization dedicated to defending and protecting our individual rights and personal

      freedoms. We do not charge our clients, and have not done so in this case.

      Consequently, I am subject to the “community market rate rule” for determining my fee

      rate.

11.   My hourly rate of $630 per hour reflects the community market rate for attorneys of

      comparable skill and experience. This rate is based on knowledge of rates charged by

      partners at law firms in Philadelphia with similar levels of experience and educational

      backgrounds.




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12.    My total billable hours for work on Plaintiffs’ Expedited Motion to Remand this case to

       the Bucks County Court of Common Pleas is 24.4. The total amount (lodestar), as

       calculated by multiplying the hours times the prevailing billing rate of $630, is

       $15,372.00.

13.    For the foregoing reasons, I believe that my requested hourly rate of $630 is fair,

       reasonable, and well within the scope of rates given to federal court litigators with similar

       experience, skill, and standing in the Philadelphia legal community.



       I declare under penalty of perjury that the foregoing is true and correct.




                                                     Stephen A. Loney, Jr.

July 2, 2025




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Make the Road States, Inc., et al. v. Harran, et al. - Stephen A. Loney, Jr. Attorney Time
Expedited Motion to Remand
E.D. Pa. Hourly Rate = $630

 Date           Description                                                            Time        Amount
  2025-06-09    Review and analyze notice of removal; analyze response options               1.8   1,134.00
  2025-06-09    Draft expedited motion to remand and supporting brief                        0.7    441.00
                Review and revise draft motion to remand; analyze legal research
  2025-06-10    re same                                                                      1.7   1,071.00
                Review and revise draft motion to remand; analyze legal research
  2025-06-10    re same                                                                      1.4    882.00
  2025-06-11    Review and revise draft motion to remand                                     0.2    126.00
  2025-06-11    Legal Team Discussion re: Remand Motion strategy                             0.3    189.00
  2025-06-11    Draft expedited motion to remand and supporting brief                        0.4    252.00
  2025-06-11    Draft expedited motion to remand and supporting brief                        1.0    630.00
  2025-06-11    Draft expedited motion to remand and supporting brief                        1.7   1,071.00
  2025-06-12    Draft expedited motion to remand and supporting brief                        1.3    819.00
                Finalize and submit expedited motion to remand and supporting
  2025-06-12    brief                                                                        0.3    189.00
                Confer with opposing counsel re briefing schedule on motion to
  2025-06-12    remand                                                                       0.5    315.00
 2025-06-13 Discussion regarding Briefing Schedule for remand motion                         0.5       315

                Prepare for and conduct court conference re removal and motion
  2025-06-16    to remand                                                                    3.0   1,890.00
  2025-06-18    Legal research in preparation for further briefing on remand motion          0.5    315.00
  2025-06-18    Strategy call with case team re remand motion                                0.6    378.00
  2025-06-20    Review defendants' opposition to remand motion                               0.1     63.00
                Review defendants' opposition to remand motion and draft reply re
  2025-06-20    same                                                                         1.6   1,008.00
  2025-06-21    Draft/revise reply in support of remand motion                               2.0   1,260.00
  2025-06-21    Draft/revise reply in support of remand motion                               1.8   1,134.00
  2025-06-21    Draft/revise reply in support of remand motion                               0.7    441.00
  2025-06-22    Draft/revise reply in support of remand motion                               0.1     63.00
  2025-06-22    Draft/revise reply in support of remand motion                               1.8   1,134.00
  2025-06-22    Draft/revise reply in support of remand motion                               0.4    252.00


                TOTAL                                                                     24.4     $ 15,372



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